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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Civil Action No. 19-cv-01770-DDD-KMT

  VICTORIA WATERS,

         Plaintiff,
  v.

  ILEAN RIDE COMPANY, LLC,

         Defendant.


                                        FINAL JUDGMENT

         In accordance with orders filed during the pendency of this case, and pursuant to Fed. R.

  Civ. P 58(a) the following Final Judgment is hereby entered.

         Pursuant to the Order of Dismissal Without Prejudice by Judge Daniel D. Domenico

  (Doc. #10) filed on July 11, 2019, it is

         ORDERED that the case is dismissed without prejudice in accordance with Doc. #10

         ORDERED that costs are awarded to the defendant and against the plaintiff upon the

  filing of a bill of costs within 14 days of entry of judgment, in accordance with the procedures

  set forth in Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1

         The case will be closed.
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        DATED this 11th day of July, 2019.


                                             ENTERED FOR THE COURT:
                                             JEFFREY P. COLWELL, CLERK

                                             s/Patricia Glover
                                               Deputy Clerk
